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                               United States District Court
                            for the Northern District of Texas

                                    Fort Worth           Division

 United States of America
       Plaintiff,
                                                                        4:20-cr-244-O
                                                             Crim. No. ___________________

 v.                                                           06561-509
                                                             Federal Register Number
 Derrick Daeyon Murrell (01)
                                     ,
         Defendant.

        ORDER ON MOTION FOR REDUCTION OF SENTENCE PURSUANT TO
        18 U.S.C. § 3582(c)(2) AND AMENDMENTS 821 & 825 TO THE FEDERAL
                               SENTENCING GUIDELINES

       Upon motion of the defendant pursuant to 18 U.S.C. § 3582(c)(2) for a reduction in the
term of imprisonment imposed based on the amendment found at:

                        U.S.S.G. § 4C1.1 Adjustment for Zero-Point Offenders

               ✔       U.S.S.G. § 4A1.1(d) & (e) Criminal History Status Points

        and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and considering the policy statement set forth at
U.S.S.G. § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that
they are applicable, and for the reasons detailed in the Statement of Reasons,

IT IS ORDERED that the motion is:

        GRANTED, and the defendant’s previously imposed sentence of imprisonment of
        ____________ months is reduced to __________ months. Except as otherwise provided,
        all of provisions of the judgment dated ______________ shall remain in effect.

  ✔ DENIED.

Date: January 11, 2024                       Signed:


Effective Date:
(If different from order date)
